Case 5:17-cv-01065-DSF-AS Document 325 Filed 11/30/21 Page 1 of 11 Page ID #:5927




           UNITED STATES DISTRICT COURT
           CENTRAL DISTRICT OF CALIFORNIA


      ATEF BANDARY,                        EDCV 17-1065 DSF (ASx)
          Plaintiff,
                                           Order re Judgment on Verdict
                       v.                  Form or Mistrial (Dkts. 311, 321,
                                           322)
      DELTA AIR LINES, INC.,
          Defendant.



            Following a jury trial over Plaintiff Atef Bandary’s alleged
     injuries suffered on a flight operated by Defendant Delta Air Lines,
     Inc., the Court instructed the parties to submit briefs concerning the
     two verdict forms returned by the jury. See Dkt. 290. Both parties
     agree that a mistrial or new trial is not warranted under the
     circumstances. See Dkts. 311 (Delta’s Brief) at 12 (“[T]here is no basis
     upon which to disturb the jury’s initial verdict and instead order a new
     trial.”), 321 (Bandary’s Brief) at 16 (“Mr. Bandary and Delta agree that
     there is no cause for a mistrial or new trial here.”). Delta argues the
     initial verdict form should be entered. See Delta’s Brief at 4-6; see also
     Dkt. 300 (First Verdict Form). Bandary argues the second verdict form
     should be entered. See Bandary’s Brief at 6, 9-12; see also Dkt. 302
     (Second Verdict Form).

           For the reasons stated below, the Court finds judgment should be
     entered on the Second Verdict Form.

                                I. BACKGROUND

           Bandary sued Delta for harms allegedly suffered on a flight
     between Atlanta, Georgia and Salt Lake City, Utah. Following a four-
     day trial, the jury returned its verdict on October 15, 2021. After
     reading the verdict and polling the jury, the Court asked the parties
     whether the jury could be excused. Dkt. 315 (Day 4 Tr.) 7:5-6. Counsel
     for Bandary objected to excusing the jury and the Court held a sidebar
Case 5:17-cv-01065-DSF-AS Document 325 Filed 11/30/21 Page 2 of 11 Page ID #:5928




     to discuss the issue. Id. 7:7-8. During the sidebar, the parties
     discovered problems with the First Verdict Form. See id. at 7-10. The
     directions at the end of question 4 of the First Verdict Form
     erroneously stated: “If your answer to question 3 included total
     damages greater than 0, proceed to answer question number 8.” First
     Verdict Form at 2. The directions then stated: “If your answer to
     question 4 was 0, stop here, answer no further questions.” Id.
     Question 4 included an assignment of damages, but question 3 was a
     “yes” or “no” question. Id. In addition, because the answer to question
     4 was not 0, the direction to “stop here, answer no further questions”
     was confusing. The jury reasonably proceeded to answer the remaining
     questions. Id. at 2-3. 1 Questions 5-7 related to damages “at any time”
     during the flight.

           During the sidebar, the parties agreed that a corrected verdict
     form should be given to the jury. See Day 4 Tr. 10:6-7, 10:13-14, 13:20-
     22, 15:12-18. Delta objected to permitting the jury to revisit or redecide
     questions 1 through 4. Id. 17:6-18. Once the error after question 4 was
     corrected, the Court issued a Second Verdict Form to the jury with a
     note agreed upon by the parties stating, “The Court has found that
     there is an error in the verdict form that the Court provided. Please
     read this revised form carefully.” See Second Verdict Form at 2; Dkt.
     303 (Court’s Supplementary Instruction).

           After approximately forty minutes, the jury returned a Second
     Verdict Form that differed from the First Verdict Form in several
     respects. First, the jury changed its answer to question 1 from “yes” to
     “no.” First Verdict Form at 2; Second Verdict Form at 2. Question 1
     asked, “By engaging Special Agent Vahe’s assistance, did Delta Air
     Lines make a voluntary disclosure of any suspicious transaction

     1 Delta suggests that “the jury answered questions 5 through 7 instead of
     following the verdict form instructions,” Delta’s Brief at 6, but that is not
     entirely correct. At best, the jury was given confusing and contradictory
     directions in the same paragraph. Cases in which the jury ignores
     instructions or has been released before an error is identified are not
     controlling here.



                                             2
Case 5:17-cv-01065-DSF-AS Document 325 Filed 11/30/21 Page 3 of 11 Page ID #:5929




     relevant to a possible violation of law or regulation relating to a threat
     to aircraft or passenger safety, or terrorism.” Id. Second, the jury
     increased Bandary’s damages to $2.5 million for bodily injury and $6
     million in emotional distress caused by bodily injury for a total of $8.5
     million. Compare Second Verdict Form at 2 (awarding $8.5 million in
     damages) with First Verdict Form at 2 (awarding $8,000 for bodily
     injury and $4,000 for emotional distress caused by bodily injury for
     injuries sustained prior to Vahe’s assistance and $500,000 in damages
     for bodily injury and $1 million for emotional distress caused by bodily
     injury after Vahe was engaged). 2

           Given the differences between the First Verdict Form and the
     Second Verdict Form, the Court ordered the parties to brief whether
     the Court should grant a mistrial or whether judgment should be
     entered on one of the verdict forms. See Dkt. 290.

                              II. LEGAL STANDARD

            After a jury trial, Federal Rule of Procedure 59 permits the Court
     to “grant a new trial on all or some of the issues . . . for any reason for
     which a new trial has heretofore been granted in an action at law in
     federal court.” 3 Though Rule 59 does not enumerate grounds on which
     a court may order a new trial, when deciding whether to grant a new
     trial, courts are “bound by those grounds that have been historically
     recognized.” Zhang v. Am. Gem Seafoods, Inc., 339 F.3d 1020, 1035
     (9th Cir. 2003). “The trial court may grant a new trial only if the
     verdict is contrary to the clear weight of the evidence, is based upon
     false or perjurious evidence, or to prevent a miscarriage of justice.”
     Molski v. M.J. Cable, Inc., 481 F.3d 724 (9th Cir. 2007) (quoting
     Passantino v. Johnson & Johnson Consumer Prods., Inc., 212 F.3d 493,
     510 n.15 (9th Cir. 2000) (simplified). “A trial court is rarely entitled to

     2Though the jury did not need to answer question 2 based on its answer to
     question 1, the jury answered “yes” to question 2. See Second Verdict Form
     at 2; see also Day 4 Tr. 24:10-16.
     3Neither party has requested a new trial, but both parties cite to the Rule 59
     standard and the cases they cite involve requests for a new trial.



                                           3
Case 5:17-cv-01065-DSF-AS Document 325 Filed 11/30/21 Page 4 of 11 Page ID #:5930




     disregard jury verdicts that are supported by substantial evidence. The
     Supreme Court has held that a trial court has a duty to harmonize
     seemingly inconsistent answers.” Duk v. MGM Grand Hotel, Inc., 320
     F.3d 1052, 1058 (9th Cir. 2003).

            Before a court may order a new trial, the court must “do all [it]
     can to reconcile” the answers and “when the very body that issued the
     ambiguous or inconsistent verdict is still available to clarify its
     meaning, a request that it do so comports with common sense as well as
     efficiency and fairness.” Larson v. Neimi, 9 F.3d 1397, 1402 (9th Cir.
     1993), superseded by rule as stated in C.B. v. City of Sonora, 769 F.3d
     1005 (9th Cir. 2014); see also Mateyko v. Felix, 924 F.2d 824, 826-27
     (9th Cir. 1990) (trial court did not abuse its discretion in resubmitting
     an inconsistent or ambiguous special verdict to the jury for
     clarification). Therefore, where the jury has not yet been discharged,
     the trial court has discretion to resubmit the verdict “to the jury for
     clarification.” Duk, 320 F.3d at 1056.

                                III. DISCUSSION

          The issue presently before the Court is whether a mistrial is
     warranted for the inconsistent verdict forms and if a mistrial is not
     warranted, whether the Court should enter judgment on the First or
     Second Verdict Form.

            As an initial matter, both parties agree that a mistrial is not
     warranted. See Delta’s Brief at 12, 15; Bandary’s Brief. at 16 (“Mr.
     Bandary and Delta agree that there is no cause for a mistrial or new
     trial.”); see also Day 4 Tr. 28:22-29:2 (Delta indicating that it does not
     believe a mistrial is warranted under the circumstances). The Court
     agrees. For the reasons stated below, the Court finds judgment should
     be entered on the Second Verdict Form.

     A.    The Court Properly Resubmitted the Verdict Form to the
           Jury

           As discussed above, with respect to the First Verdict Form, the
     instructions provided to the jury were confusing at best. The parties do



                                         4
Case 5:17-cv-01065-DSF-AS Document 325 Filed 11/30/21 Page 5 of 11 Page ID #:5931




     not dispute that they agreed to fix the typographical error after
     question 4 and agreed that the Court should send a note to the jury
     informing it that there was an error and instructing it to “read t[he]
     revised verdict form carefully.” Day 4 Tr. 15:21-16:2, 16:8-20; see also
     Court’s Supplementary Instruction.

             Delta argues the Court should enter judgment on the First
     Verdict Form because the First Verdict Form is “internally consistent
     and supported by the evidence.” Delta’s Brief at 1. Delta contends that
     “[w]hereas the initial verdict form is fully consistent, the second is
     anything but concordant – or coherent.” Id. at 11. That is, Delta
     argues the Court should not enter judgment on the Second Verdict
     Form because (1) “the jury’s purported reversal on question
     1 . . . makes no sense”; (2) “the answer to question 2 violates the verdict
     form instructions and makes no sense,” (3) given that the jury
     answered question 2, “the refusal to answer questions 3 and 4 is
     incomprehensible,” and (4) “[i]t is equally if not more inexplicable why
     the numbers originally given in response to questions 7a and 7b
     ballooned to proportions that bear no relation to, and find absolutely no
     support in, the evidence.” Id.

            Bandary argues that judgment should be entered on the Second
     Verdict Form because (1) the First Verdict Form is “irreconcilably
     inconsistent,” with respect to the jury’s answers to questions 1, 8, and
     9; (2) the typographical error after question 4 likely created ambiguity
     as to question 1; and (3) the Second Verdict Form is “internally
     consistent.” Bandary’s Brief at 4-5, 7, 10-11.

            Delta principally relies on Floyd v. Laws, 929 F.2d 1390 (9th Cir.
     1991) for the proposition that when the jury answers questions in
     violation of the court’s instructions, the court does not abuse its
     discretion by ignoring the answers. See Delta’s Brief at 8-10 (citing
     Floyd, 929 F.2d at 1397-1400). However, Floyd is distinguishable.

          In Floyd, after the jury was discharged, counsel for the
     defendants pointed out that the jury’s answers to two questions “were
     apparently inconsistent with each other.” Floyd, 929 F.2d at 1392



                                          5
Case 5:17-cv-01065-DSF-AS Document 325 Filed 11/30/21 Page 6 of 11 Page ID #:5932




     (emphasis added). The first question at issue asked whether the
     plaintiff was damaged by the defendants’ actions, to which the jury
     answered “no.” Id. The verdict form then instructed the jury that if its
     answer to the question was no, it should “not answer any further
     questions, but proceed to the end of this form and sign the verdict.” Id.
     at 1393. In direct contravention of the court’s instruction, the jury
     went on to answer the next question, which instructed it to award an
     amount in damages. Id. The circuit noted that as a “general
     proposition . . . the trial court should defer only to legitimate or viable
     findings of fact” and “special findings in violation of the trial court’s
     express instructions do not constitute legitimate or viable findings of
     fact,” and the court should “therefore dismiss them as surplusage.” Id.
     at 1398. The circuit then held that, assuming the jury answered the
     first question correctly, as it must do under binding precedent, the
     answer to the first question “disposed of the legal issue before the trial
     court and obviated the need for further finding of fact,” and therefore,
     after the answer to the first question, “the trial court was bound by law
     to disregard any answer to question 14 as surplusage.” Id. at 1399-
     1400. As a result, the damages awarded in question 14 “never became
     a part of the special verdict, and the trial court was faced with no
     apparent inconsistency in the special verdict.” Id. at 1400.

           Here, Bandary objected to excusing the jury because of the
     typographical error after question 4 and juror confusion about whether
     it was supposed to answer questions 5 through 7. See Day 4 Tr. 7:5-8,
     18-19, 8:6-8. The parties agreed the First Verdict Form should be
     corrected and sent back to the jury with instructions to read the Second
     Verdict Form “carefully.” See id. 15:21-16:2, 16:8-20; see also Court’s
     Supplementary Instruction. 4 In other words, in Floyd the court could

     4Delta eventually objected to permitting the jury to revisit or redecide
     questions 1 through 4, Delta’s Mot. at 6 (quoting Day 4 Tr. 17:7-18).
     However, Delta fails to cite any authority permitting the Court to send back
     the verdict form directing the jury to answer only certain questions. In any
     event, that the jury filled out every question on the First Verdict Form
     suggests the jury may have been confused. To rectify the mistake after
     question 4 and alleviate potential juror confusion, the Court resubmitted the


                                           6
Case 5:17-cv-01065-DSF-AS Document 325 Filed 11/30/21 Page 7 of 11 Page ID #:5933




     not resubmit the verdict form for clarification because the jury had
     been discharged, but here the Court could and did resubmit the verdict
     form. See Larson, 9 F.3d at 1402 (“[I]t makes a good deal of sense to
     require trial and appellate courts to do all they can to reconcile special
     verdict answers when the only alternative is ordering a new trial.”).
     And rather than order a new trial – the only alternative – the court in
     Floyd reconciled the seemingly inconsistent verdict answers by ignoring
     the answers the jury was expressly instructed not to provide. Floyd,
     929 F.2d at 1397-1400. Indeed, the circuit noted that Supreme Court
     precedent “does not expressly preclude the trial court from
     resubmitting the special verdict to the jury, provided the jurors have
     not been discharged,” but that “resubmission was unavailable, because
     the jury had been discharged.” Id. at 1396-97.

           Unlike in Floyd, this jury did not blatantly ignore the directions
     on the form. See Floyd, 929 F.2d at 1393 (“[T]he jury disobeyed the
     express instructions on the verdict form and answered” the next
     questions). It followed one of two possible interpretations of the
     directions. Resubmitting an inconsistent or ambiguous verdict form
     before the jury is discharged is precisely the type of corrective action
     the Ninth Circuit relied on in Duk when it reinstated the jury’s second
     verdict rather than the first. See Duk, 320 F.3d at 1056-58, 1061. In
     Duk, the court “squarely face[d] the applicability of Floyd’s ‘surplusage’
     rule where the jury is still available.” Id. at 1057. “[T]he jury was
     instructed that if it found the plaintiff to be more than 50% negligent, it
     should ‘sign and return [the] verdict’ and judgment would be entered
     for the defendant.” Id. at 1055. The jury determined the plaintiff was
     more than 50% negligent, but in contravention of the court’s
     instructions, the jury answered the next question and awarded the
     plaintiff $3.3 million in damages. Id. The court reviewed the first
     verdict and “resubmitted the verdict form to the jury, informing the
     jury that the verdict contained an inconsistency” and instructed the


     verdict form with instructions to review the Second Verdict Form “carefully.”
     Delta did not object to resubmitting the verdict form, nor did Delta object to
     the Court’s Supplementary Instruction.



                                           7
Case 5:17-cv-01065-DSF-AS Document 325 Filed 11/30/21 Page 8 of 11 Page ID #:5934




     jury to continue its deliberations. Id. After fifteen minutes of
     deliberation, the jury returned a second verdict, this time apportioning
     51% of the fault to the defendant and 40% to the plaintiff. Id. The
     court recognized the second verdict was “flatly inconsistent with the
     first because it apportioned liability differently,” but that the
     “discrepancy is easily explained by the process of redeliberation,” which
     the court twice directed the jury to do. Id. at 1059-60. The circuit held
     the trial “court was within its discretion in resubmitting the first
     verdict.” Id. at 1054. More importantly, the circuit determined the
     trial court had erred when it ordered a new trial on receipt of the
     second verdict and remanded with instructions to enter judgment on
     the second verdict. Id.

            The cases Duk relies on are instructive here. In Larson, a 42
     U.S.C. § 1983 action based on the plaintiff’s wrongful arrest, the jury
     returned a special verdict form in which it found the arresting officer
     had qualified immunity, but nonetheless awarded damages to the
     plaintiff. Larson, 9 F.3d at 1401. The court and the parties “recognized
     that there was an inconsistency in the verdict because if there were
     immunity, the jury did not need to (and could not) go forward and
     assess damages.” Id. The trial court reasoned that based on the
     questions, the jury could have erred in “checking the ‘yes’ box”
     indicating the arresting officer had qualified immunity or it “could have
     meant that the jury thought it was to calculate damages even if there
     was immunity.” Id. Because the jury had not yet been discharged, “the
     trial judge was able to resubmit the form.” Id. After the jury returned
     from reviewing the verdict form, it had changed its answer to the
     qualified immunity question to “no,” which “rendered the verdict
     consistent.” Id.

           Here, Delta argues that the First Verdict Form is not
     inconsistent because the answers to questions 5 through 7 can be
     disregarded as surplusage. Delta’s Brief at 15. Delta argues that if the
     answers to questions 5 through 7 in the First Verdict Form “had any
     substantive meaning at all, they would represent damages for which
     Delta is not legally liable as a matter of law given the jury’s answer to
     question 1.” Id. Therefore, just as in Larson, the jury’s answers to


                                         8
Case 5:17-cv-01065-DSF-AS Document 325 Filed 11/30/21 Page 9 of 11 Page ID #:5935




     questions 5 through 7 were ambiguous and inconsistent because if the
     jury determined in question 1 that there has been a “suspicious
     transaction,” – triggering Delta’s immunity under the Aviation and
     Transportation Security Act, 49 U.S.C. § 44941 – the jury would not
     have been permitted to award damages for injuries caused after Agent
     Vahe was engaged. See First Verdict Form at 2, Second Verdict Form
     at 2; see also Day 4 Tr. 17:17-18 (“[O]nce [the jury] find[s] immunity, it
     is irrelevant what damages or injuries were suffered.”).

            Therefore, because it is possible the jury was confused or
     otherwise returned an inconsistent verdict, the Court properly
     resubmitted a corrected verdict form with instructions to review it
     “carefully.” Delta does not argue that the jury (1) failed to follow the
     Court’s Supplementary Instruction or (2) after reading the Second
     Verdict Form, carefully determined that the answer to question 1 was
     in fact “no.” Indeed, during deliberation, the jury submitted a note
     requesting the definition of “suspicious transaction.” Dkt. 293. As
     such, the jury clearly considered whether a “suspicious transaction”
     had occurred and it is entirely possible that in reviewing the Second
     Verdict Form “carefully,” it determined that a “suspicious transaction”
     had not occurred. 5

            Because the jury completed the entire verdict form, it is possible
     the jury erred in the First Verdict Form by answering question 1 “yes.”
     It is also possible the typographical error after question 4 caused
     confusion and the jury continued to complete the verdict form in an
     abundance of caution or because it thought it was required to do so.
     Either way, because the jury had not yet been discharged and because
     the parties agreed the verdict form should be resubmitted to the jury
     with a supplementary instruction, the Court properly resubmitted the




     5Though the Court did not expressly instruct the jury to redeliberate,
     nothing in the Court’s Supplementary Instruction prevented the jury from
     doing so, particularly in light of the Court’s direction to read the Second
     Verdict Form “carefully.” See Court’s Supplementary Instruction.



                                           9
Case 5:17-cv-01065-DSF-AS Document 325 Filed 11/30/21 Page 10 of 11 Page ID #:5936




      verdict form to the jury with instructions to read the Second Verdict
      Form “carefully.”

      B.    The Second Verdict is Not a “Compromise” Verdict

             While the jury’s changed answer to question 1 and the changes in
      damages in question 7 are perhaps puzzling, the Court presumes the
      jury followed the subsequent instructions, reviewed the Second Verdict
      Form “carefully,” and arrived at an agreed conclusion. See CSX
      Transp., Inc. v. Hensley, 556 U.S. 838, 941 (2009) (“[I]n all cases, juries
      are presumed to follow the court’s instructions.”). Analogizing to the
      circuit’s conclusion in Duk, it appears the jury’s changes in the Second
      Verdict Form have a simple explanation, namely, that the jury “read
      t[he] revised verdict form carefully,” determined that a “suspicious
      transaction” had not occurred, and awarded damages accordingly. See
      Duk, 320 F.3d at 1059 (explaining that the “discrepancy” between the
      first and second verdict forms “is easily explained by the process of
      redeliberation.”).

             The Court is mindful that there is always a concern that the jury
      completes the verdict form with the intent to reach a “pre-determined
      destination” and revises its findings “to reach the damage award it
      desired” when the jury changes the verdict form as to liability and
      damages. Riley v. K Mart Corp., 864 F.2d 1049, 1054 (3d Cir. 1988);
      see also Duk, 320 F.3d at 1058 (“Resubmission, of course, leaves open
      the possibility that the jury will reach an improper ‘compromise’
      verdict.”) (citing Riley, 864 F.2d at 1054). However, as the Ninth
      Circuit instructed, “we presume that citizen jurors will properly
      perform the duties entrusted them and will not construe resubmission
      as an invitation to subvert the law and contort findings of fact in favor
      of a desired result.” Duk, 320 F.3d at 1058. Beyond questioning how
      the jury arrived at its conclusions in the Second Verdict Form, Delta
      does not contend the jury revisited the Second Verdict Form with an
      eye towards a desired damages result. While the jury spent
      approximately forty minutes with the Second Verdict Form, the Court
      is unaware of any precedent mandating a certain amount of time spent
      on a second verdict form before returning the verdict. See id. at 1054-


                                          10
Case 5:17-cv-01065-DSF-AS Document 325 Filed 11/30/21 Page 11 of 11 Page ID #:5937




      55 (reversing and remanding with instructions to the trial judge to
      enter judgment on the second verdict form even after the jury spent
      “about twenty minutes” redeliberating). The Court declines to inquire
      into the intentions or thought process of the jury.

                               IV. CONCLUSION

            For the reasons set forth above, the judgment will be entered on
      the Second Verdict Form. Bandary is ordered to submit a proposed
      judgment within 10 days. Any objections must be submitted within 10
      days of Bandary’s submission.

         IT IS SO ORDERED.



      Date: November 30, 2021                ___________________________
                                             Dale S. Fischer
                                             United States District Judge




                                        11
